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 7     Attorneys for Defendants County of Kings and Taylor Lopes
 8

 9                                    UNITED STATES DISTRICT COURT
10                            FOR THE EASTERN DISTRICT OF CALIFORNIA
11     FREDDIE QUAIR,                                   ) CASE NO. 1:20-CV-01793-KJM-SKO
12                                                      )
                        Plaintiff,                      )
13                      vs.                             ) COUNTY DEFENDANTS’
                                                        ) TRIAL WITNESS LIST
14     COUNTY OF KINGS; TAYLOR LOPES;                   )
       NEIL COMPSTON; JOHN SILVERIA;                    ) Date:       November 10, 2025
15     EDWARD SINCLAIR; and DOES 1                        Time:       9:00 a.m.
                                                        )
       THROUGH 10, inclusive,                           ) Courtroom:  Three
16                                                        The Honorable Kimberly J. Mueller
                                                        )
17                      Defendants.                     )
                                                        )
18

19             Defendants County of Kings and Taylor Lopes (“County Defendants”) hereby submit
20     their trial witness list:
21             1.       Special Agent Aguirre (State of California Department of Justice)
22             2.       Officer Carlos Andrade, #177 (Corcoran Police Department)
23             3.       Gabriel Andrade
24             4.       Communications Dispatcher Supervisor Toni Barnes
25             5.       Surenia Barriga
26             6.       Commander Loren Bettencourt (Kings County Sheriff’s Office (“KCSO”)
27             7.       Commander Mark Bevens (KCSO)
28             8.       Undersheriff Rick Bradford (KCSO)

       County Defendants’ Trial Witness List
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 1             9.       Firefighter D. Bravo (Kings County Fire Department)

 2             10.      Sergeant Pedro Carrasco, #7 (Corcoran Police Department)

 3             11.      Clarence Chapman (retained expert)

 4             12.      Officer Steven Chee, #23 (Corcoran Police Department)

 5             13.      Special Agent Cisneros (State of California Department of Justice)

 6             14.      Lindita Coku, M.D.

 7             15.      Special Agent Neil Compston (State of California Department of Justice)

 8             16.      Officer Jared Cotta, #1472 (Hanford Police Department)

 9             17.      Scott Davis (American Ambulance)

10             18.      Detective Raymond Dias #1473 (Hanford Police Department)

11             19.      Officer Dieterle (Corcoran Police Department)

12             20.      Laura Diez (American Ambulance)

13             21.      Special Agent Chase Dobbins (State of California Department of Justice)

14             22.      Phil Esbenshade (Kings County District Attorney’s Office)

15             23.      Detective Eric Essman, #1445 (KCSO)

16             24.      Officer Nick Fishbough (California Highway Patrol)

17             25.      Robert J. Fonzi (retained expert)

18             26.      Daniel Fulks (American Ambulance)

19             27.      Captain Gong (Kings County Fire Department)

20             28.      Officer John Harris, #43 (Corcoran Police Department)

21             29.      David Hernandez

22             30.      Special Agent Johnson (State of California Department of Justice)

23             31.      Assistant Chief Gary Kramer (Corcoran Police Department)

24             32.      Sergeant Taylor Lopes (KCSO)

25             33.      Detective Jessica Machado, #389 (KCSO)

26             34.      Special Agent Nathan Mancebo (State of California Department of Justice)

27             35.      Officer Dusty Manning (California Highway Patrol)

28             36.      Detective Andrew Mazza (KCSO)

       County Defendants’ Trial Witness List
                                                            2
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 1             37.      Robert McFarlane (retained expert)

 2             38.      Commander Armando Puga (KCSO)

 3             39.      Freddie Quair

 4             40.      Angel Gabriel Quintero

 5             41.      Jose Quintero

 6             42.      Officer Max Rapozo (Corcoran Police Department)

 7             43.      Officer Jimmy Roark, #117 (Corcoran Police Department)

 8             44.      Officer Garrett Robertshaw, #172 (Corcoran Police Department)

 9             45.      Special Agent Rodriguez (State of California Department of Justice)

10             46.      Sheriff David Robinson (KCSO)

11             47.      Officer John Sconoma (California Highway Patrol)

12             48.      Special Agent John Silveira (State of California Department of Justice)

13             49.      Special Agent Edward Sinclair (State of California Department of Justice)

14             50.      Officer Michael Szatmari (California Highway Patrol)

15             51.      Undersheriff Robert Thayer (KCSO)

16     DATED: July 14, 2025                           WEAKLEY & ARENDT
                                                      A Professional Corporation
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18
                                                      By:/s/ James J. Arendt
19                                                            James J. Arendt
                                                              Matthew P. Bunting
20                                                            Attorneys for County Defendants
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       County Defendants’ Trial Witness List
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